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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

CEDRIC WILLIS,                  §
                                §
          Plaintiff,            §
                                §
V.                              §                       No. 3:25-cv-516-BN
                                §
U.S. BANK NATIONAL ASSOCIATION, §
AS TRUSTEE, IGLOO SERIES TRUST; §
LOANCARE LLC; and SECURITY      §
NATIONAL MORTGAGE COMPANY, §
INC.,                           §
                                §
          Defendants.           §

 STANDING ORDER REGARDING USE OF ARTIFICIAL INTELLIGENCE

       After the parties consented in writing, this case was ordered transferred to the

undersigned United States magistrate judge to conduct all further proceedings,

including entry of judgment, under 28 U.S.C. § 636(c). See Dkt. No. 25.

       “Legal research has improved over time, going from the use of digest books to

online databases like Lexis and Westlaw.”1

       Now, litigators – attorneys and pro se parties (that is, unrepresented or self-

represented parties) alike – “are beginning to make the jump from those databases

into the world of Artificial Intelligence (‘AI’).”2

       “AI is a powerful tool, that when used prudently, provides immense benefits.”3


       1 Wadsworth v. Walmart Inc., 348 F.R.D. 489, 492-93 (D. Wyo. 2025).
       2 Id. at 493.
       3 Ferris v. Amazon.com Servs., LLC, ___ F. Supp. 3d ____, No. 3:24-CV-304-

MPM-JMV, 2025 WL 1122235, at *1 (N.D. Miss. Apr. 16, 2025).
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AI also “may ultimately prove a helpful tool to assist pro se litigants in bringing

meritorious cases to the courts,” and, “[i]n that way, [AI] has the potential to

contribute to the cause of justice.”4

      And, so, “[t]he Court is not opposed to the use of AI and recognizes that ‘[w]hen

done right, AI can be incredibly beneficial for attorneys and the public.’”5

      But, along with its potential benefits, using AI involves risks. And “accessing

any beneficial use of artificial intelligence requires carefully understanding its

limitations.”6

      For example, “[t]he legal profession has been cautious to make a head-first dive

[into AI] partly because of a concept referred to as ‘AI Hallucinations,’” which occur

“when an AI database generates fake sources of information. To explain how this

occurs: ‘AI models are trained on data, and they learn to make predictions by finding

patterns in the data. However, the accuracy of these predictions often depends on the

quality and completeness of the training data. If the training data is incomplete,

biased, or otherwise flawed, the AI model may learn incorrect patterns, leading to

inaccurate predictions or hallucinations.’”7

      “It is no secret that generative AI programs are known to ‘hallucinate’




      4 Morales v. Land Rover Cherry Hill, No. 3:25-CV-544 (VDO), 2025 WL
1249616, at *3 (D. Conn. Apr. 30, 2025).
      5 Bevins v. Colgate-Palmolive Co., No. CV 25-576, 2025 WL 1085695, at *7 n.10

(E.D. Pa. Apr. 10, 2025) (quoting Wadsworth, 348 F.R.D. at 493).
      6 Morales, 2025 WL 1249616, at *3.
      7 Wadsworth, 348 F.R.D. at 493 (cleaned up).


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nonexistent cases, and with the advent of AI, courts have seen a rash of cases in which

both counsel and pro se litigants have cited such fake, hallucinated cases in their

briefs.”8 And “[t]hese hallucinations are not unique to the legal profession, as many

scientific fields experience the same issue.”9

       Litigants in this district must also be aware that a local civil rule requires that

the use of Generative Artificial Intelligence be disclosed:

              1. A brief prepared using generative artificial intelligence must
                 disclose this fact on the first page under the heading “Use of
                 Generative Artificial Intelligence.” If the presiding judge so
                 directs, the party filing the brief must disclose the specific
                 parts prepared using generative artificial intelligence.
              2. “Generative Artificial Intelligence” means a computer tool
                 (whether referred to as “Generative Artificial Intelligence” or
                 by another name) that is capable of generating new content
                 (such as images and text) in response to a submitted prompt
                 (such as a query) by learning from a large reference database
                 of examples.
              3. A party who files a brief that does not contain the disclosure
                 required by subsection (f)(1) of this rule certifies that no part
                 of the brief was prepared using generative artificial
                 intelligence.

N.D. TEX. L. CIV. R. 7.2(f).

       And, while the Court will not impose obligations as to litigants’ using AI

beyond those that Local Civil Rule 7.2(f) requires, all parties are cautioned that

relying on AI without verifying the accuracy of the information it generates – like any

other shoddy research method from other sources or tools – implicates Federal Rule



       8 Sanders v. United States, ___ Fed. Cl. ____, No. 24-cv-1301, 2025 WL 957666,

at *4 (Fed. Cl. Mar. 31, 2025) (cleaned up).
       9 Wadsworth, 348 F.R.D. at 493 (cleaned up).


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of Civil Procedure 11, “the central purpose of [which] is to deter baseless filings in

district court and thus … streamline the administration and procedure of the federal

courts”10 and which “applies fully and completely to actions filed by pro se litigants.”11

      Rule 11 provides, in part, that, “[b]y presenting to the court a pleading, written

motion, or other paper – whether by signing, filing, submitting, or later advocating it

– an attorney or unrepresented party certifies that to the best of the person’s

knowledge, information, and belief, formed after an inquiry reasonable under the

circumstances ... the claims, defenses, and other legal contentions are warranted by

existing law.”12

      And “[c]onfirming a case is good law is a basic, routine matter and something

to be expected from a practicing attorney,”13 especially because “[c]arelessness, good

faith, or ignorance are not an excuse for submitting materials that do not comply with

Rule 11.”14

      “To start with the obvious, an attorney [or pro se party] who submits fake cases



      10 Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 393 (1990) (cleaned up).
      11 Hick v. Bexar Cnty., Tex., 973 F. Supp. 653, 687 (W.D. Tex. 1997) (cleaned

up; collecting cases), aff’d, 137 F.3d 1352 (5th Cir. 1998); see also Houston v. Sw.
Airlines, No. 3:17-cv-2610-N-BT, 2020 WL 774408, at *1 (N.D. Tex. Feb. 18, 2020)
(“Although the Rule 11 standard applies equally to pro se parties as it does to
attorneys, a court has ‘sufficient discretion to take account of the special
circumstances that often arise in pro se situations.’” (quoting FED. R. CIV. P. 11
advisory committee’s notes)).
       12 FED. R. CIV. P. 11(b)(2).
       13 Mid Cent. Operating Eng’rs Health & Welfare Fund v. HoosierVac LLC, No.

2:24-CV-00326-JPH-MJD, 2025 WL 574234, at *2 (S.D. Ind. Feb. 21, 2025).
       14 Attaway v. Ill. Dep’t of Corr., No. 23-CV-2091-DWD, 2025 WL 1101398, at *2

(S.D. Ill. Apr. 14, 2025) (cleaned up).

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clearly has not read those nonexistent cases, which is a violation of Rule 11 of the

Federal Rules of Civil Procedure.”15 So, in the context of AI, “[i]t is one thing to use

AI to assist with initial research, and even non-legal AI programs may provide a

helpful 30,000-foot view. It is an entirely different thing, however, to rely on the

output of a generative AI program without verifying the current treatment or validity

– or, indeed, the very existence – of the case presented.”16

      “And because artificial intelligence synthesizes many sources with varying

degrees of trustworthiness, reliance on artificial intelligence without independent

verification renders litigants” – attorneys and pro se parties alike – “unable to

represent to the Court that the information in their filings is truthful.”17

      “That the AI-generated excerpts appeared valid to [an attorney or pro se party]

does not relieve him of his duty to conduct a reasonable inquiry” into the law,18

because “[a] fake opinion is not ‘existing law’ and citation to a fake opinion does not

provide a non-frivolous ground for extending, modifying, or reversing existing law, or

for establishing new law. [Instead, a]n attempt to persuade a court or oppose an

adversary by relying on fake opinions is an abuse of the adversary system.”19


      15  Benjamin v. Costco Wholesale Corp., ___ F. Supp. 3d ____, 2:24-cv-7399
(LGD), 2025 WL 1195925, at *2 (E.D.N.Y. Apr. 24, 2005).
      16 Mid Cent., 2025 WL 574234, at *2.
      17 Morales, 2025 WL 1249616, at *3.
      18 Mid Cent., 2025 WL 574234, at *3
      19 Nguyen v. Savage Enters., No. 4:24-CV-00815-BSM, 2025 WL 679024, at *1

(E.D. Ark. Mar. 3, 2025) (cleaned up; quoting Mata v. Avianca, Inc., 678 F. Supp. 3d
443, 461 (S.D.N.Y. 2023)); accord Ford v. Bank of N.Y. Mellon, Tr., for CWABS, Inc.
Asset-Backed Certificates, Series 2007-2, No. 24-50053, 2025 WL 1008537, at *1 n.1
(5th Cir. Apr. 4, 2025) (per curiam); Park v. Kim, 91 F.4th 610, 615 (2d Cir. 2024).

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      That is, “briefing built on AI-generated cases that stand for legal propositions

in direct contravention of actual case law is the epitome of baseless,” and, “[w]hile

courts afford pro se litigants considerable leeway, that leeway does not relieve pro se

litigants of their obligation under Rule 11 to confirm the validity of any cited legal

authority.”20

      And, “[w]hen used carelessly, [AI] produces frustratingly realistic legal fiction

that takes inordinately longer to respond to than to create. While one party can create

a fake legal brief at the click of a button, the opposing party and court must parse

through the case names, citations, and points of law to determine which parts, if any,

are true. As AI continues to proliferate, this creation-response imbalance places

significant strain on the judicial system.”21

      Because “[f]ake citations waste both the Court’s and the opposing party’s time

and resources,” “[t]he imposition of sanctions against parties who submit fake

citations is also not uncommon.”22



      20 Sanders, 2025 WL 957666, at *5 (cleaned up); accord Nichols v. Walmart,

Inc., No. CV 124-236, 2025 WL 1178592, at *2 (S.D. Ga. Apr. 23, 2025) (“Although
courts ‘make some allowances for the pro se Plaintiff’s failure to cite to proper legal
authority,’ courts do not make allowances for a Plaintiff who cites to fake,
nonexistent, misleading authorities.” (quoting Morgan v. Cmty. Against Violence, No.
23-CV-353, 2023 WL 6976510, at *7 (D.N.M. Oct. 23, 2023), in turn quoting James v.
Wadas, 724 F.3d 1312, 1315 (10th Cir. 2013))).
       21 Ferris, 2025 WL 1122235, at *1.
       22 Gordon v. Wells Fargo Bank N.A. Inc., No. 5:24-CV-388 (CAR), 2025 WL

1057211, at *3 (M.D. Ga. Apr. 8, 2025) (cleaned up); cf. Attaway, 2025 WL 1101398,
at *3 (explaining that the fact that a party is pro se and “not a licensed attorney” “is
not an excuse for leniency with Rule 11” but that, in this case, “the Court will not
issue a monetary sanction today, but if Plaintiff is found to have committed similar

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      In sum, “the use of artificial intelligence must be accompanied by the

application of actual intelligence in its execution.”23 And, so, attorneys and self-

represented litigants should consult this Standing Order when considering the use of

AI in court filings and, for any brief prepared using generative artificial intelligence,

must comply with Northern District of Texas Local Civil Rule 7.2(f).

      SO ORDERED.

      DATE: May 15, 2025


                                         _________________________________________
                                         DAVID L. HORAN
                                         UNITED STATES MAGISTRATE JUDGE




violations in any other case or if he commits future violations of this nature in any
case, he may face monetary sanctions for his conduct”); McKeown v. Paycom Payroll
LLC, No. CIV-24-301-PRW, 2025 WL 978221, at *9 (W.D. Okla. Mar. 31, 2025)
(“[B]ecause the Court recognizes the limitations faced by a pro se plaintiff, including
the inability to access legal research databases to check the veracity of citations, the
Court is unwilling to dismiss Plaintiff’s claims with prejudice as a sanction at this
time.”).
       23 Mid Cent., 2025 WL 574234, at *4; accord In re: Use of Generative Artificial

Intelligence in Court Filings, S.D. TEX. GEN. ORDER 2025-04 (May 7, 2025) (“Rule 11
of the Federal Rules of Civil Procedure requires that an attorney or self-represented
litigant certifies their claims, defenses, and other legal contentions are warranted by
existing law and the factual contentions have evidentiary support. Attorneys and self-
represented litigants are cautioned against submitting to the Court any pleading,
written motion, or other paper drafted using generative artificial intelligence (e.g.,
ChatGPT, Harvey.AI, generative AI services) without checking the submission for
accuracy as certain technologies may produce factually or legally inaccurate content
and should never replace the lawyer’s independent legal judgment.”).

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